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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                            MDL No. 2323
INJURY LITIGATION
                                                      Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,                            Civ. Action No. 14-00029-AB
           Plaintiffs,

                v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
           Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


           CO-LEAD CLASS COUNSEL’S RESPONSE TO NOTICE OF
      SUBSEQUENT AUTHORITY BY THRIVEST SPECIALTY FUNDING, LLC,
          RELATING TO CLASS COUNSEL’S MOTION TO WITHHOLD

       In its Notice of Subsequent Authority Relating to Class Counsel’s Motion to Withhold

(Dkt. 8470) [ECF No. 9762], Thrivest Specialty Funding, LLC (“Thrivest”) requests that this Court

consider a recent, unpublished opinion by the Third Circuit, Obermayer, Rebmann, Maxwell &

Hippel v. West, No. 16-1376, 2018 WL 1074310 (3d Cir. Feb. 27, 2018). Thrivest’s suggestion

ignores two salient points: (1) the Court’s Explanation and Order of December 8, 2017 [ECF No.

9517] already decided Class Counsel’s Motion to Direct Claims Administrator to Withhold [ECF
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No. 8470] (“Motion to Withhold”) as to Third-Party Funders, like Thrivest, which purported to

enter into assignment agreements with Class Members; and (2) Obermayer is inapposite.

              1.             As to Third-Party Funders, Such as Thrivest, the Motion to Withhold Is

Already Moot.                        Although it did not specifically reference the Motion to Withhold in its

Explanation and Order, the Court cited Section 30.1 (No Assignment of Claims) of the Settlement

Agreement [ECF No. 6481-1] and held that “under the Settlement Agreement, Class Members are

prohibited from assigning or attempting to assign any monetary claims, and any such purported

assignment is void, invalid and of no force and effect.” ECF No. 9517, at 4. This fundamental

fact, taken directly from the Settlement Agreement, was the basis for Class Counsel’s having

brought the Motion to Withhold as related to Third-Party Funders.

              The Court further held that “[a] Third-Party Funder that failed to perform proper due

diligence before deciding to enter into such an agreement is prohibited from now reaping the

benefit of the contract. Id. Thus, as to Third-Party Funders, Class Counsel’s Motion to Withhold,

filed on October 23, 2017, is now moot.1

              2.             Thrivest’s Subsequent Authority Is Inapposite. The Third Circuit in Obermeyer

affirmed the district court’s determination that because the assignment agreements were non-

recourse, they were not loans, and because they were not loans, the usury laws did not apply. That

holding does nothing to further Thrivest’s position. Even if Thrivest’s rates are, as it contends in

its Notice, “among the lowest for non-recourse transactions and lower even than some recourse

lenders,” ECF No. 9762, at 2, that is of no moment. That Class Counsel noted in the briefing his

belief that the instruments were packaged as assignments in order to avoid usury laws, was simply

by way of background. Even if that were not the reason that the advances of funds were so


                                                            
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    The Motion remains outstanding as to claims services providers.


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structured, that would not in any way alter the outcome here, for whether state law prohibits the

putative assignments is immaterial. Assignments are expressly prohibited by the very terms of the

Settlement Agreement itself. The Court enforced the Settlement Agreement that it had previously

finally approved in an opinion that was affirmed by the Third Circuit. Obermeyer does not address

the issue this Court already decided and thus lends no support for the position of Thrivest and other

Third-Party Funders that their assignment agreements are enforceable.




Dated: March 14, 2018                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I served a true and correct copy of the foregoing Co-Lead

Class Counsel’s Response to Notice of Subsequent Authority on all counsel of record via the

Court’s ECF system. I further hereby certify that on this date, I served a true and correct copy of

the foregoing on the following interested parties via e-mail, where available, and otherwise, via

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Dated: March 14, 2018                           /c/ Christopher A. Seeger
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